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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

  KÉTO NORD HODGES, et al.,
        Plaintiffs,
  v.
                                                             Case No. 8:24-cv-879
  KATHLEEN PASSIDOMO, in her official
  capacity as President of the Florida Senate,
  et al.,
        Defendants.
                                                /

                     PLAINTIFFS’ MOTION TO STRIKE
               SECRETARY OF STATE’S AFFIRMATIVE DEFENSES

        Plaintiffs move to strike Secretary of State Cord Byrd’s affirmative defenses

  pursuant to Federal Rule of Civil Procedure 12(f). Specifically, Plaintiffs submit that

  all the Secretary’s affirmative defenses are either legally insufficient and/or confuse

  the issues, and should be struck or treated as specific denials.

                               STATEMENT OF THE CASE

        Plaintiffs’ Complaint states a claim for racial gerrymandering. ECF No. 1. In

  response, Secretary of State Cord Byrd raised five affirmative defenses:

                1. If race predominates whenever the Florida Legislature
                   complies with or attempts to comply with the Fair Districts
                   Amendments, as Plaintiffs seemingly contend, then the Fair
                   Districts Amendments violate the Fourteenth Amendment to
                   the U.S. Constitution, principles of federalism, and principles
                   of equal sovereignty; the Fair Districts Amendments lack a
                   record of race-based problems that justify the need for their
                   race-based solutions.

                2. Plaintiffs fail to state a claim for racial predominance under
                   the Fourteenth Amendment.


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                3. There is no basis for an award of attorneys’ fees or costs to
                   Plaintiffs in this action.

                4. Plaintiffs fail to allege any basis upon which injunctive relief
                   would be available from this Court.

                5. The Secretary reserves the right to identify additional
                   affirmative defenses.

  ECF No. 35 at 10–11. For the reasons stated below, these are not legally sufficient

  affirmative defenses.

                                MEMORANDUM OF LAW

  I.     Legal Standard

         “A true affirmative defense is ‘one that admits to the complaint, but avoids

  liability, wholly, or partly, by new allegations of excuse, justification or other negating

  matters.’” Hallmark Ins. Co. v. Maxum Cas. Ins. Co., 2017 WL 3037637, at *1 (M.D. Fla.

  June 27, 2017), report and recommendation adopted, 2017 WL 3034077 (M.D. Fla. July

  18, 2017) (quoting Royal Palm Sav. Ass’n v. Pine Trace Corp., 716 F. Supp. 1416, 1420

  (M.D. Fla. 1989)). Here, an affirmative defense to a claim of racial gerrymandering

  would need to take the form of: “Yes, the districts are racially gerrymandered, but

  Plaintiffs are not entitled to the relief that they seek because of this other reason.”

         A defense that merely points out a defect in the plaintiff’s prima facie case is not

  an affirmative defense. In re Rawson Food Serv., 846 F.2d 1343, 1349 (11th Cir. 1988).

  “Affirmative defenses which simply deny the complaint’s allegations are also not

  affirmative defenses.” Losada v. Norwegian (Bahamas) Ltd., 296 F.R.D. 688, 690 (S.D.

  Fla. 2013) (citing Home Design Serv. Inc. v. Park Square Enter., Inc., 2005 WL 1027370,


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  at *7 (M.D. Fla. May 2, 2005).

         Like complaints, affirmative defenses “are subject to the general pleading

  requirements of Rule 8,” Burns v. City of Cape Coral, 2011 WL 2222169, at *1 (M.D.

  Fla. June 7, 2011), and “are insufficient as a matter of law if they do not meet the

  general pleading requirements of Rule 8(a),” Pujals ex rel. El Rey De Los Habanos, Inc. v.

  Garcia, 777 F. Supp. 2d 1322, 1327 (S.D. Fla. 2011) (quotation omitted). Under Rule

  12(f), a court “may strike from a pleading an insufficient defense or any redundant,

  immaterial, impertinent, or scandalous matter.” “An affirmative defense may also be

  stricken as insufficient if: ‘(1) on the face of the pleadings, it is patently frivolous, or

  (2) it is clearly invalid as a matter of law.’” Pujals, 777 F. Supp. 2d at 1327 (quoting

  Blount v. Blue Cross & Blue Shield of Fla., Inc., No. 3:10-cv-1151, 2011 WL 672450, at *1

  (M.D. Fla. Feb. 17, 2011)). “Also, an affirmative defense may be stricken if it has ‘no

  possible relationship to the controversy, may confuse the issues, or otherwise prejudice

  a party.’” Hallmark Ins. Co., No. 6:16-cv-2063, 2017 WL 3037637, at *2 (quoting Reyher

  v. Trans World Airlines, Inc., 881 F. Supp. 574, 576 (M.D. Fla. 1995)). Invalid defenses

  are disfavored because they “clutter the docket; they create unnecessary work, and . . .

  require significant unnecessary discovery.” Castillo v. Roche Lab’ys Inc., No. 10-20876-

  CIV, 2010 WL 3027726, at *3 (S.D. Fla. Aug. 2, 2010) (citation and alterations

  omitted).

  II. First Affirmative Defense

         The Secretary of State pleads the following first “affirmative defense:”

                If race predominates whenever the Florida Legislature complies


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                with or attempts to comply with the Fair Districts Amendments,
                as Plaintiffs seemingly contend, then the Fair Districts
                Amendments violate the Fourteenth Amendment to the U.S.
                Constitution, principles of federalism, and principles of equal
                sovereignty; the Fair Districts Amendments lack a record of race-
                based problems that justify the need for their race-based
                solutions.

  ECF No. 35 at 10–11.

         This affirmative defense is invalid as a matter of law. It does not “admit[] the

  essential facts of [the] complaint and set[] up other facts in justification or avoidance.”

  Will, 647 F. Supp. at 547. Rather, the this defense hypothesizes as to how the Secretary

  might respond to a legal argument that Plaintiffs are not making and that appears

  nowhere in their Complaint. And in mischaracterizing Plaintiffs’ allegations, it borders

  on the impertinent. Plaintiffs’ Complaint does not allege that race predominates

  whenever the Legislature complies with the Fair Districts Amendments, nor do

  Plaintiffs present a claim under the Fair Districts Amendments. Plaintiffs’ claim is

  under the Fourteenth Amendment. The validity of the Fair Districts Amendments is

  not before the Court, so it is not a legal defense to Plaintiffs’ action that the Fair District

  Amendments are invalid, as this defense hypothesizes.

         Because the Secretary’s statement is an invalid defense incurable through re-

  pleading, confuses the actual issues in this case, and prejudices Plaintiffs, it should be

  struck with prejudice. See Pujals, 777 F. Supp. 2d at 1330 (striking affirmative defense

  asserting a legal argument that responded to allegations the plaintiffs did not make);

  Losada, 296 F.R.D. at 691 (striking with prejudice an assertion that was “not an

  appropriate affirmative defense in the instant case”).


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  III. Second, Third, and Fourth Affirmative Defenses

         The Secretary’s next three “affirmative defenses” are reprinted here for ease of

  reference:

                2. Plaintiffs fail to state a claim for racial predominance under
                   the Fourteenth Amendment.

                3. There is no basis for an award of attorneys’ fees or costs to
                   Plaintiffs in this action.

                4. Plaintiffs fail to allege any basis upon which injunctive relief
                   would be available from this Court.

  ECF No. 35 at 11.

         These, too, are not proper affirmative defenses; they allege defects in Plaintiffs’

  case but do not allege excuse, justification, or other negating matters, as affirmative

  defenses must do. “These defenses are, in effect, denials because they allege defects in

  plaintiff’s prima facie case.” Burns, 2011 WL 2222169, at *1 (citing Rawson Food, 846

  F.2d at 1349); see also Pujals, 777 F. Supp. 2d at 1328, 1333 (treating as denials defenses

  that the plaintiff did not state a claim and did not sufficiently plead the elements

  required for injunctive relief).

         “[W]hen a party incorrectly labels a ‘negative averment as an affirmative

  defense rather than as a specific denial, the proper remedy is not to strike the claim,

  but rather to treat it as a specific denial.’” Burns, 2011 WL 2222169, at *1 (cleaned up)

  (quoting Gonzalez v. Spears Holdings, Inc., 2009 WL 2391233 (S.D. Fla. July 31, 2009)).

  Plaintiffs therefore request that the Court treat the Secretary’s second, third, and fourth

  affirmative defenses as specific denials to Plaintiffs’ factual allegation of their prima

  facie case, i.e., that race predominated in the drawing of the Challenged Districts.

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  IV.   Fifth Affirmative Defense

        It is unnecessary to reserve the right to amend affirmative defenses. Rule 15 sets

  forth the procedure for amending an answer. Reserving the right to do so is not

  necessary, nor does it dispense with the necessity of seeking leave under Rule 15.

  Accordingly, the Secretary’s last “affirmative defense” is not a defense at all and

  should be struck as surplusage.

                                     CONCLUSION

        For the foregoing reasons, Plaintiffs respectfully request that the Court strike the

  Secretary of State’s first and fifth affirmative defenses and construe his second, third,

  and fourth affirmative defenses as specific denials.


                              Local Rule 3.01(g) Certification

        Plaintiffs’ counsel conferred with counsel for the Secretary of State by telephone

  and counsel for the Senate President by email. Both Defendants oppose the relief

  requested by this motion.


  Respectfully submitted June 18, 2024,

  /s/ Nicholas L.V. Warren

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